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 8   LIN’S WAHA INTERNATIONAL CORP.
 9                        UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
11                                        Case No.: 2:19-cv-08917 SB (KSx)
     OCM GROUP USA INC.,
12
                          Plaintiff,      RESPONSE TO PLAINTIFF’S
13                                        STATEMENT OF ADDITIONAL
14       vs.                              UNCONTROVERTED FACTS
15
     LIN’S WAHA INTERNATIONAL Hearing:
16   CORP., a New York corporation;
     and DOES 1-10,                 Date: March 5, 2021
17                                  Time: 8:30 a.m.
18                   Defendants.    Courtroom: 6C
19

20

21

22

23
           Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Local Rule 56-1,
24
     and this Court’s Standing Order re Motions for Summary Judgment, Defendant Lin’s
25
     Waha International Corp. (“Defendant” or “Lin’s Waha”) submits the following
26
     response to Plaintiff OCM Group USA, Inc.’s (“Plaintiff”) Statement of Additional
27
     Uncontroverted Facts.
28

                                              1
               RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
Case 2:19-cv-08917-SB-KS Document 36-3 Filed 02/18/21 Page 2 of 37 Page ID #:743



 1
         RESPONSE TO STATEMENT OF ADDITIONAL UNCONTROVERTED
 2
                                              FACTS
 3
     #     OCM’s Uncontroverted               Supporting Evidence       Lin’s Waha’s
 4
                        Fact                                               Response
 5
     1   LR 7-3 Conference took place Counsel Decl. ¶1; Exh.1        Undisputed. Counsel
 6       on 1/20/2021 by exchanging                                  conducted a phone
 7       emails        where        counsel                          conference as well.
 8       exchanged      authorities     and
 9       arguments      re     issues    of
10       liability and damages.
11   2   Confirmation          on     OCM Counsel Decl. ¶2; Exh. 1   Disputed. Lin’s
12       exclusivity      after       phone                          Waha did not
13       discussion.                                                 confirm that OCM’s

14                                                                   exclusivity is
                                                                     undisputed. Rather,
15
                                                                     Lin’s Waha’s
16
                                                                     contends that
17
                                                                     whether or not the
18
                                                                     Distribution
19
                                                                     Agreement purported
20
                                                                     to provide an
21
                                                                     “exclusive
22                                                                   distributor”
23                                                                   arrangement, Lin’s
24                                                                   Waha’s activities as
25                                                                   alleged in the
26                                                                   Complaint were
27                                                                   protected by the first
28                                                                   sale doctrine.
     3   OCM’s Branded Products are Mo XuHua Decl; ¶¶3-6             Disputed. It is
                                            2
             RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
Case 2:19-cv-08917-SB-KS Document 36-3 Filed 02/18/21 Page 3 of 37 Page ID #:744



 1
         materially   different   (from                         undisputed that three
 2
         LW’s     Branded    Products)                          of the nine Products
 3       because they are made by                               at Issue do not even
 4       XPP using New Zealand or                               contain milk and/or
 5       Australia milk/dairy sources.                          dairy (i.e., MECO
 6                                                              Kumquat & Lemon
 7                                                              Tea, MECO Thai
 8                                                              Lime Tea, MECO
 9                                                              Peach & Pink
10                                                              Grapefruit Tea).

11                                                              (See Supplemental
                                                                Declaration of
12
                                                                Xiuqing Lin (“Lin
13
                                                                Supp. Decl.”), at ⁋
14
                                                                2). OCM has
15
                                                                submitted no
16
                                                                documents or other
17
                                                                evidence
18
                                                                demonstrating that
19                                                              XPP manufactures
20                                                              products for U.S.
21                                                              distribution using
22                                                              different ingredients
23                                                              or other testing or
24                                                              compliance than it
25                                                              uses for products
26                                                              distributed in China.

27
                                                                To the contrary, the
                                                                “Products
28
                                                                Distribution
                                            3
             RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
Case 2:19-cv-08917-SB-KS Document 36-3 Filed 02/18/21 Page 4 of 37 Page ID #:745



 1
                                                                Agreement” between
 2
                                                                XPP and OCM,
 3
                                                                which OCM
 4                                                              produced in this
 5                                                              action, states that
 6                                                              XPP’s products “are
 7                                                              manufactured in
 8                                                              accordance with the
 9                                                              quality standards of
10                                                              [People’s Republic

11                                                              of China] and can
                                                                only be sold after
12
                                                                passing inspection.”
13
                                                                (Witkow Decl., ¶ 7
14
                                                                and Exh. 6, at pg. 4).
15
                                                                OCM has not
16
                                                                provided this Court
17
                                                                with any competent
18
                                                                evidence that the
19                                                              USDA requires
20                                                              “veterinary
21                                                              certificates” for the
22                                                              remaining Products
23                                                              at Issue that contain a
24                                                              milk/dairy
25                                                              ingredient. Neither
26                                                              Liu nor Mo are

27
                                                                identified as
                                                                importation experts
28
                                                                yet these individuals
                                            4
             RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
Case 2:19-cv-08917-SB-KS Document 36-3 Filed 02/18/21 Page 5 of 37 Page ID #:746



 1
                                                                summarily declare —
 2
                                                                without any legal
 3
                                                                citation or analysis
 4                                                              —that a requirement
 5                                                              for importation is the
 6                                                              existence of a
 7                                                              “veterinary
 8                                                              certificate.” (See
 9                                                              Evidentiary
10                                                              Objections). To the

11                                                              contrary, the
                                                                USDA’s Animal and
12
                                                                Plant Health
13
                                                                Inspection Service
14
                                                                (“APHIS”) does not
15
                                                                require a veterinary
16
                                                                certificate for the
17
                                                                import of
18
                                                                “[f]ormulations
19                                                              containing dry milk
20                                                              products as the only
21                                                              animal origin
22                                                              ingredient,
23                                                              commercially labeled
24                                                              and presented in final
25                                                              finished packaging
26                                                              requiring no further

27
                                                                manipulation of the
                                                                product (includes all
28
                                                                products that contain
                                            5
             RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
Case 2:19-cv-08917-SB-KS Document 36-3 Filed 02/18/21 Page 6 of 37 Page ID #:747



 1
                                                                dry milk powder or
 2
                                                                dry milk products to
 3
                                                                include the following
 4                                                              as a partial, not all-
 5                                                              inclusive list: baking
 6                                                              mixes, cocoa mixes,
 7                                                              drink mixes, etc.).
 8                                                              (See Request for
 9                                                              Judicial Notice
10                                                              (“RJN”), Exhs. A &

11                                                              B). As can be seen
                                                                in the enhanced
12
                                                                image of the list of
13
                                                                ingredients on
14
                                                                OCM’s own products
15
                                                                that contain
16
                                                                milk/dairy
17
                                                                ingredients –
18
                                                                contained in
19                                                              paragraph 3 of the
20                                                              Supplemental
21                                                              Declaration of
22                                                              Xiuqing Lin (“Supp.
23                                                              Lin Decl.”) — the
24                                                              ingredient is a dry
25                                                              “milk tea powder,”
26                                                              which would fall

27
                                                                within an exception
                                                                to the “Veterinary
28
                                                                Certificate”
                                            6
             RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
Case 2:19-cv-08917-SB-KS Document 36-3 Filed 02/18/21 Page 7 of 37 Page ID #:748



 1
                                                                requirement. (RJN,
 2
                                                                Exhs. A & B; Lin
 3
                                                                Supp. Decl., ⁋⁋ 4 &
 4                                                              5). Finally, the
 5                                                              “veterinary
 6                                                              certificates” that
 7                                                              OCM submitted to
 8                                                              the Court as evidence
 9                                                              of this alleged
10                                                              “material difference”

11                                                              do not even pertain
                                                                to any of the
12
                                                                Products at Issue.
13
                                                                Specifically, OCM’s
14
                                                                Exhibit 3 attaches
15
                                                                two (2) alleged
16
                                                                “Veterinary (Health)
17
                                                                Certificates” that
18
                                                                pertain to only two
19                                                              products (Matcha
20                                                              Mix Milk Tea and
21                                                              Muscovado Sugar
22                                                              Mix Milk Tea) –
23                                                              neither of which are
24                                                              one of the Products
25                                                              at Issue. (See
26                                                              Compendium of

27
                                                                Exhibits, Exh. 3
                                                                [Dkt. 32-5]).
28
                                                                Furthermore, both
                                            7
             RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
Case 2:19-cv-08917-SB-KS Document 36-3 Filed 02/18/21 Page 8 of 37 Page ID #:749



 1
                                                                certificates are dated
 2
                                                                March 24, 2020, well
 3
                                                                after the
 4                                                              infringement period
 5                                                              at issue – i.e. July
 6                                                              2018 through
 7                                                              October 2019.
 8                                                              Thus, not only does
 9                                                              OCM not satisfy its
10                                                              burden to establish

11                                                              that “Veterinary
                                                                Certificates” are
12
                                                                required, but this
13
                                                                evidence does not
14
                                                                even demonstrate
15
                                                                that OCM itself
16
                                                                possessed “veterinary
17
                                                                certificates” for the
18
                                                                Products at Issue
19                                                              during the same
20                                                              timeframe Lin’s
21                                                              Waha was offering
22                                                              the products.
23   4.   LW’s products, based upon       Defendant LW’s SUF Disputed.              Lin’s
24        Defendant’s documents and #10.                        Waha’s “SUF #10”
25        representation,   are   XPP                           does not state that the
26        products destined for Chinese                         products     purchased

27        domestic consumption.                                 by     Fujian       from
                                                                Fuqing                  &
28
                                                                Guangzhou              are
                                             8
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
Case 2:19-cv-08917-SB-KS Document 36-3 Filed 02/18/21 Page 9 of 37 Page ID #:750



 1
                                                                   “destined for Chinese
 2
                                                                   domestic
 3
                                                                   consumption.”
 4                                                                 Rather,     SUF       #10
 5                                                                 provides only that
 6                                                                 Fujian purchases the
 7                                                                 Products      at     Issue
 8                                                                 from       Fujian       &
 9                                                                 Guangzhou.
10   5    LW      imported    9   branded Counsel Decl, ¶3; Exh. 2 Undisputed.
11        products     from   China     for (LW-0036)

12
          distribution in U.S.
     6.   XPP’s      US-bound products Liu Decl. ¶2; Exh. 3 (Vet Disputed. The
13
          (those sold by OCM) have Certificates)                   “veterinary
14
          veterinary    certificates,   in                         certificates” that
15
          compliance with U.S. import                              OCM submitted to
16
          entry    requirement    set   by                         the Court do not even
17
          USDA/APHIS                                               pertain to any of the
18
                                                                   Products at Issue.
19
                                                                   Specifically, OCM’s
20                                                                 Exhibit 3 attaches
21                                                                 two (2) alleged
22                                                                 “Veterinary (Health)
23                                                                 Certificates” that
24                                                                 pertain to only two
25                                                                 products (Matcha
26                                                                 Mix Milk Tea and
27                                                                 Muscovado Sugar

28
                                                                   Mix Milk Tea) –
                                                                   neither of which are
                                              9
               RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
Case 2:19-cv-08917-SB-KS Document 36-3 Filed 02/18/21 Page 10 of 37 Page ID #:751



 1
                                                                one of the Products
 2
                                                                at Issue. (See
 3
                                                                Compendium of
 4                                                              Exhibits, Exh. 3
 5                                                              [Dkt. 32-5]).
 6                                                              Furthermore, both
 7                                                              certificates are dated
 8                                                              March 24, 2020, well
 9                                                              after the
 10                                                             infringement period

 11                                                             at issue – i.e. July
                                                                2018 through
 12
                                                                October 2019. In
 13
                                                                addition, the
 14
                                                                “Products
 15
                                                                Distribution
 16
                                                                Agreement” between
 17
                                                                XPP and OCM,
 18
                                                                which OCM
 19                                                             produced in this
 20                                                             action, states that
 21                                                             XPP’s products “are
 22                                                             manufactured in
 23                                                             accordance with the
 24                                                             quality standards of
 25                                                             [People’s Republic
 26                                                             of China] and can

 27
                                                                only be sold after
                                                                passing inspection.”
 28
                                                                (Witkow Decl., ¶ 7
                                             10
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
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 1
                                                                and Exh. 6, at pg. 4).
 2
                                                                OCM has not
 3
                                                                provided this Court
 4                                                              with any competent
 5                                                              evidence that the
 6                                                              USDA requires
 7                                                              “veterinary
 8                                                              certificates” for the
 9                                                              Products at Issue.
 10                                                             Neither Liu nor Mo

 11                                                             are identified as
                                                                importation experts
 12
                                                                yet these individuals
 13
                                                                summarily declare —
 14
                                                                without any legal
 15
                                                                citation or analysis
 16
                                                                —that a requirement
 17
                                                                for importation is the
 18
                                                                existence of a
 19                                                             “veterinary
 20                                                             certificate.” (See
 21                                                             Evidentiary
 22                                                             Objections). To the
 23                                                             contrary, the
 24                                                             USDA’s Animal and
 25                                                             Plant Health
 26                                                             Inspection Service

 27
                                                                (“APHIS”) does not
                                                                require a veterinary
 28
                                                                certificate for the
                                             11
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
Case 2:19-cv-08917-SB-KS Document 36-3 Filed 02/18/21 Page 12 of 37 Page ID #:753



 1
                                                                import of
 2
                                                                “[f]ormulations
 3
                                                                containing dry milk
 4                                                              products as the only
 5                                                              animal origin
 6                                                              ingredient,
 7                                                              commercially labeled
 8                                                              and presented in final
 9                                                              finished packaging
 10                                                             requiring no further

 11                                                             manipulation of the
                                                                product (includes all
 12
                                                                products that contain
 13
                                                                dry milk powder or
 14
                                                                dry milk products to
 15
                                                                include the following
 16
                                                                as a partial, not all-
 17
                                                                inclusive list: baking
 18
                                                                mixes, cocoa mixes,
 19                                                             drink mixes, etc.).
 20                                                             (See Request for
 21                                                             Judicial Notice
 22                                                             (“RJN”), Exhs. A &
 23                                                             B). As can be seen
 24                                                             in the enhanced
 25                                                             image of the list of
 26                                                             ingredients on sone

 27
                                                                of OCM’s own
                                                                products that contain
 28
                                                                milk/dairy
                                             12
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
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 1
                                                                 ingredients –
 2
                                                                 contained in
 3
                                                                 paragraph 3 of the
 4                                                               Supplemental
 5                                                               Declaration of
 6                                                               Xiuqing Lin (“Supp.
 7                                                               Lin Decl.”) — the
 8                                                               ingredient is a dry
 9                                                               “milk tea powder,”
 10                                                              which would fall

 11                                                              within an exception
                                                                 to the “Veterinary
 12
                                                                 Certificate”
 13
                                                                 requirement. (RJN,
 14
                                                                 Exhs. A & B; Lin
 15
                                                                 Supp. Decl., ⁋⁋ 4 &
 16
                                                                 5).
 17
      7.   LW’s branded products are Mo XuHua Decl. ¶¶3-6        Disputed. It is
 18
           materially   different   (from                        undisputed that three
 19        OCM’s) and are not allowed                            of the nine Products
 20        for import into US, for failure                       at Issue do not even
 21        to    comply      with     the                        contain milk and/or
 22        USDA/APHIS requirement                                dairy (i.e., MECO
 23                                                              Kumquat & Lemon
 24                                                              Tea, MECO Thai
 25                                                              Lime Tea, MECO
 26                                                              Peach & Pink

 27                                                              Grapefruit Tea).
                                                                 (See Supplemental
 28
                                                                 Declaration of
                                               13
                RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
Case 2:19-cv-08917-SB-KS Document 36-3 Filed 02/18/21 Page 14 of 37 Page ID #:755



 1
                                                                Xiuqing Lin (“Lin
 2
                                                                Supp. Decl.”), at ⁋
 3
                                                                2). OCM has
 4                                                              submitted no
 5                                                              documents or other
 6                                                              evidence
 7                                                              demonstrating that
 8                                                              XPP manufactures
 9                                                              products for U.S.
 10                                                             distribution using

 11                                                             different ingredients
                                                                or other testing or
 12
                                                                compliance than it
 13
                                                                uses for products
 14
                                                                distributed in China.
 15
                                                                To the contrary, the
 16
                                                                “Products
 17
                                                                Distribution
 18
                                                                Agreement” between
 19                                                             XPP and OCM,
 20                                                             which OCM
 21                                                             produced in this
 22                                                             action, states that
 23                                                             XPP’s products “are
 24                                                             manufactured in
 25                                                             accordance with the
 26                                                             quality standards of

 27
                                                                [People’s Republic
                                                                of China] and can
 28
                                                                only be sold after
                                             14
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
Case 2:19-cv-08917-SB-KS Document 36-3 Filed 02/18/21 Page 15 of 37 Page ID #:756



 1
                                                                passing inspection.”
 2
                                                                (Witkow Decl., ¶ 7
 3
                                                                and Exh. 6, at pg. 4).
 4                                                              OCM has not
 5                                                              provided this Court
 6                                                              with any competent
 7                                                              evidence that the
 8                                                              USDA requires
 9                                                              “veterinary
 10                                                             certificates” for the

 11                                                             Products at Issue.
                                                                Neither Liu nor Mo
 12
                                                                are identified as
 13
                                                                importation experts
 14
                                                                yet these individuals
 15
                                                                summarily declare —
 16
                                                                without any legal
 17
                                                                citation or analysis
 18
                                                                —that a requirement
 19                                                             for importation is the
 20                                                             existence of a
 21                                                             “veterinary
 22                                                             certificate.” (See
 23                                                             Evidentiary
 24                                                             Objections). To the
 25                                                             contrary, the
 26                                                             USDA’s Animal and

 27
                                                                Plant Health
                                                                Inspection Service
 28
                                                                (“APHIS”) does not
                                             15
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
Case 2:19-cv-08917-SB-KS Document 36-3 Filed 02/18/21 Page 16 of 37 Page ID #:757



 1
                                                                require a veterinary
 2
                                                                certificate for the
 3
                                                                import of
 4                                                              “[f]ormulations
 5                                                              containing dry milk
 6                                                              products as the only
 7                                                              animal origin
 8                                                              ingredient,
 9                                                              commercially labeled
 10                                                             and presented in final

 11                                                             finished packaging
                                                                requiring no further
 12
                                                                manipulation of the
 13
                                                                product (includes all
 14
                                                                products that contain
 15
                                                                dry milk powder or
 16
                                                                dry milk products to
 17
                                                                include the following
 18
                                                                as a partial, not all-
 19                                                             inclusive list: baking
 20                                                             mixes, cocoa mixes,
 21                                                             drink mixes, etc.).
 22                                                             (See Request for
 23                                                             Judicial Notice
 24                                                             (“RJN”), Exhs. A &
 25                                                             B). As can be seen
 26                                                             in the enhanced

 27
                                                                image of the list of
                                                                ingredients on some
 28
                                                                of OCM’s own
                                             16
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
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 1
                                                                products that contain
 2
                                                                milk/dairy
 3
                                                                ingredients –
 4                                                              contained in
 5                                                              paragraph 3 of the
 6                                                              Supplemental
 7                                                              Declaration of
 8                                                              Xiuqing Lin (“Supp.
 9                                                              Lin Decl.”) — the
 10                                                             ingredient is a dry

 11                                                             “milk tea powder,”
                                                                which would fall
 12
                                                                within an exception
 13
                                                                to the “Veterinary
 14
                                                                Certificate”
 15
                                                                requirement. (RJN,
 16
                                                                Exhs. A & B; Lin
 17
                                                                Supp. Decl., ⁋⁋ 4 &
 18
                                                                5).
 19   8   LW’s branded products were Counsel Decl. ¶4; Exh. 4 Disputed. It is
 20       illegal to make import entry (LW 0037 – 0038)         undisputed that three
 21       into US and were seized by                            of the nine Products
 22       USDA/APHIS     in   August,                           at Issue do not even
 23       2019, as shown in USDA                                contain milk and/or
 24       Emergency           Action                            dairy (i.e., MECO
 25       Notification                                          Kumquat & Lemon
 26                                                             Tea, MECO Thai

 27                                                             Lime Tea, MECO
                                                                Peach & Pink
 28
                                                                Grapefruit Tea).
                                             17
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
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 1
                                                                (See Supplemental
 2
                                                                Declaration of
 3
                                                                Xiuqing Lin (“Lin
 4                                                              Supp. Decl.”), at ⁋
 5                                                              2). For most of the
 6                                                              remaining products,
 7                                                              Lin’s Waha’s
 8                                                              contends that these
 9                                                              shipments were
 10                                                             seized improperly as

 11                                                             the USDA’s Animal
                                                                and Plant Health
 12
                                                                Inspection Service
 13
                                                                (“APHIS”) does not
 14
                                                                require a veterinary
 15
                                                                certificate for the
 16
                                                                import of
 17
                                                                “[f]ormulations
 18
                                                                containing dry milk
 19                                                             products as the only
 20                                                             animal origin
 21                                                             ingredient,
 22                                                             commercially labeled
 23                                                             and presented in final
 24                                                             finished packaging
 25                                                             requiring no further
 26                                                             manipulation of the

 27
                                                                product (includes all
                                                                pro ducts that contain
 28
                                                                dry milk powder or
                                             18
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
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 1
                                                                dry milk products to
 2
                                                                include the following
 3
                                                                as a partial, not all-
 4                                                              inclusive list: baking
 5                                                              mixes, cocoa mixes,
 6                                                              drink mixes, etc.).
 7                                                              (See Request for
 8                                                              Judicial Notice
 9                                                              (“RJN”), Exhs. A &
 10                                                             B). As can be seen

 11                                                             in the enhanced
                                                                image of the list of
 12
                                                                ingredients on sone
 13
                                                                of OCM’s own
 14
                                                                products – contained
 15
                                                                in paragraph 3 of the
 16
                                                                Supplemental
 17
                                                                Declaration of
 18
                                                                Xiuqing Lin (“Supp.
 19                                                             Lin Decl.”) — the
 20                                                             ingredient is a dry
 21                                                             “milk tea powder,”
 22                                                             which would fall
 23                                                             within an exception
 24                                                             to the “Veterinary
 25                                                             Certificate”
 26                                                             requirement. (RJN,

 27
                                                                Exhs. A & B; Lin
                                                                Supp. Decl., ⁋⁋ 4 &
 28
                                                                5). There is no
                                             19
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
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 1
                                                                dispute that Lin’s
 2
                                                                Waha imports these
 3
                                                                same genuine
 4                                                              products and are
 5                                                              “commercially
 6                                                              labeled and presented
 7                                                              in final finished
 8                                                              packaging requiring
 9                                                              no further
 10                                                             manipulation of the

 11                                                             product;”
                                                                accordingly, OCM
 12
                                                                offers no explanation
 13
                                                                as to why these
 14
                                                                products require a vet
 15
                                                                certificate. [SUF 26
 16
                                                                (“It appears that LW
 17
                                                                purchased/sold
 18
                                                                genuine products
 19                                                             during the time when
 20                                                             OCM has the
 21                                                             exclusivity”)].
 22                                                             (Lin Decl., ⁋ 6).
 23                                                             Because Lin’s Waha
 24                                                             had already agreed to
 25                                                             stop selling the
 26                                                             Products at Issue

 27
                                                                after receiving
                                                                OCM’s cease and
 28
                                                                desist letter in July
                                             20
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
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 1
                                                                2019, it made the
 2
                                                                economic decision to
 3
                                                                not contest the
 4                                                              seizure. (Id.)
 5                                                              Indeed, no other
 6                                                              shipments of the
 7                                                              Products at Issue
 8                                                              imported by Lin’s
 9                                                              Waha were ever
 10                                                             seized (for lack of

 11                                                             veterinary
                                                                certification or any
 12
                                                                other reason). (Id.
 13
                                                                and Exh. 7 (several
 14
                                                                examples of U.S.
 15
                                                                Customs and Border
 16
                                                                Entry Summary
 17
                                                                Documents for the
 18
                                                                Products at Issue)).
 19   9   OCM’s purchase cost for the Liu Decl. ¶4; Exhibit 5. Disputed &
 20       9   Branded   Products   are (Under Seal)             Irrelevant. First, as
 21       shown in OCM-002                                      to any claim for lost
 22                                                             profits, OCM’s Rule
 23                                                             26(e) Supplemental
 24                                                             Disclosure identifies
 25                                                             that OCM seeks
 26                                                             monetary damages in

 27                                                             the form of “lost
                                                                profits” based on
 28
                                                                Lin’s Waha’s total
                                             21
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
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 1
                                                                sales. [SUF 36].
 2
                                                                While OCM seeks to
 3
                                                                apply its own “Cost
 4                                                              of Goods Sold,”
 5                                                              claiming that its own
 6                                                              profit margin would
 7                                                              have been greater
 8                                                              than Lin’s Waha’s,
 9                                                              any attempt by OCM
 10                                                             to disgorge Lin’s

 11                                                             Waha’s profits (or an
                                                                amount even greater
 12
                                                                than Lin’s Waha’s
 13
                                                                profits) must fail, as
 14
                                                                OCM cannot create a
 15
                                                                triable issue of fact
 16
                                                                as to willfulness, as
 17
                                                                required under Ninth
 18
                                                                Circuit law.
 19                                                             Second, OCM has
 20                                                             failed to identify any
 21                                                             measurable loss to
 22                                                             establish actual
 23                                                             damages as a result
 24                                                             of Lin’s Waha’s
 25                                                             alleged infringement.
 26                                                             OCM has not

 27
                                                                provided any
                                                                evidence of lost sales
 28
                                                                or lost customers as a
                                             22
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
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 1
                                                                result of Lin’s
 2
                                                                Waha’s sales of the
 3
                                                                Products at Issue.
 4                                                              Indeed, when asked
 5                                                              in discovery for all
 6                                                              documents
 7                                                              supporting its
 8                                                              original allegation of
 9                                                              estimated damages of
 10                                                             $250,000, OCM

 11                                                             produced no
                                                                documents, instead
 12
                                                                providing only the
 13
                                                                vague response that
 14
                                                                “[a]ny of the sales of
 15
                                                                the branded products
 16
                                                                by [Lin’s Waha] after
 17
                                                                7/1/2018 caused loss
 18
                                                                of revenue and
 19                                                             goodwill to [OCM].
 20                                                             [OCM] currently has
 21                                                             no expert opinion(s)
 22                                                             to evaluate loss of
 23                                                             goodwill and
 24                                                             revenue.”
 25   10 OCM’s sales price for the 9 Liu Decl. ¶5; Exhibit 6 Disputed &
 26      Branded Products are shown (Under Seal)                Irrelevant. First, as

 27      in OCM-003 – 006                                       to any claim for lost
                                                                profits, OCM’s Rule
 28
                                                                26(e) Supplemental
                                             23
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
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 1
                                                                Disclosure identifies
 2
                                                                that OCM seeks
 3
                                                                monetary damages in
 4                                                              the form of “lost
 5                                                              profits” based on
 6                                                              Lin’s Waha’s total
 7                                                              sales. [SUF 36].
 8                                                              While OCM seeks to
 9                                                              apply its own “Cost
 10                                                             of Goods Sold,”

 11                                                             claiming that its own
                                                                profit margin would
 12
                                                                have been greater
 13
                                                                than Lin’s Waha’s,
 14
                                                                any attempt by OCM
 15
                                                                to disgorge Lin’s
 16
                                                                Waha’s profits (or an
 17
                                                                amount even greater
 18
                                                                than Lin’s Waha’s
 19                                                             profits) must fail, as
 20                                                             OCM cannot create a
 21                                                             triable issue of fact
 22                                                             as to willfulness, as
 23                                                             required under Ninth
 24                                                             Circuit law.
 25                                                             Second, OCM has
 26                                                             failed to identify any

 27
                                                                measurable loss to
                                                                establish actual
 28
                                                                damages as a result
                                             24
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
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 1
                                                                of Lin’s Waha’s
 2
                                                                alleged infringement.
 3
                                                                OCM has not
 4                                                              provided any
 5                                                              evidence of lost sales
 6                                                              or lost customers as a
 7                                                              result of Lin’s
 8                                                              Waha’s sales of the
 9                                                              Products at Issue.
 10                                                             Indeed, when asked

 11                                                             in discovery for all
                                                                documents
 12
                                                                supporting its
 13
                                                                original allegation of
 14
                                                                estimated damages of
 15
                                                                $250,000, OCM
 16
                                                                produced no
 17
                                                                documents, instead
 18
                                                                providing only the
 19                                                             vague response that
 20                                                             “[a]ny of the sales of
 21                                                             the branded products
 22                                                             by [Lin’s Waha] after
 23                                                             7/1/2018 caused loss
 24                                                             of revenue and
 25                                                             goodwill to [OCM].
 26                                                             [OCM] currently has

 27
                                                                no expert opinion(s)
                                                                to evaluate loss of
 28
                                                                goodwill and
                                             25
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
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 1
                                                                revenue.”
 2
      11 OCM’s computation showed Liu Decl. ¶6; Exhibit 7 Disputed &
 3
         that it would have made the (Under Seal)               Irrelevant. First, as
 4       profit of $82,666.59                                   to any claim for lost
 5                                                              profits, OCM’s Rule
 6                                                              26(e) Supplemental
 7                                                              Disclosure identifies
 8                                                              that OCM seeks
 9                                                              monetary damages in
 10                                                             the form of “lost
 11                                                             profits” based on

 12
                                                                Lin’s Waha’s total
                                                                sales. [SUF 36].
 13
                                                                While OCM seeks to
 14
                                                                apply its own “Cost
 15
                                                                of Goods Sold,”
 16
                                                                claiming that its own
 17
                                                                profit margin would
 18
                                                                have been greater
 19                                                             than Lin’s Waha’s,
 20                                                             any attempt by OCM
 21                                                             to disgorge Lin’s
 22                                                             Waha’s profits (or an
 23                                                             amount even greater
 24                                                             than Lin’s Waha’s
 25                                                             profits) must fail, as
 26                                                             OCM cannot create a

 27                                                             triable issue of fact
                                                                as to willfulness, as
 28
                                                                required under Ninth
                                             26
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
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 1
                                                                Circuit law.
 2
                                                                Second, OCM has
 3
                                                                failed to identify any
 4                                                              measurable loss to
 5                                                              establish actual
 6                                                              damages as a result
 7                                                              of Lin’s Waha’s
 8                                                              alleged infringement.
 9                                                              OCM has not
 10                                                             provided any

 11                                                             evidence of lost sales
                                                                or lost customers as a
 12
                                                                result of Lin’s
 13
                                                                Waha’s sales of the
 14
                                                                Products at Issue.
 15
                                                                Indeed, when asked
 16
                                                                in discovery for all
 17
                                                                documents
 18
                                                                supporting its
 19                                                             original allegation of
 20                                                             estimated damages of
 21                                                             $250,000, OCM
 22                                                             produced no
 23                                                             documents, instead
 24                                                             providing only the
 25                                                             vague response that
 26                                                             “[a]ny of the sales of

 27
                                                                the branded products
                                                                by [Lin’s Waha] after
 28
                                                                7/1/2018 caused loss
                                             27
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
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 1
                                                                of revenue and
 2
                                                                goodwill to [OCM].
 3
                                                                [OCM] currently has
 4                                                              no expert opinion(s)
 5                                                              to evaluate loss of
 6                                                              goodwill and
 7                                                              revenue.” See also
 8                                                              Evidentiary
 9                                                              Objections to Liu
 10                                                             Decl., at pg. 4 (for

 11                                                             Improper Expert
                                                                Opinion, FRE 702 &
 12
                                                                Lacks Foundation,
 13
                                                                FRE 602.
 14
      12 OCM     has   at    least   one Liu Decl. ¶7.          Undisputed.
 15
         overlapping           customer
 16
         (Skyfoods) with LW related
 17
         to the 9 Branded Products
 18
      13 OCM has other overlapping Liu Decl. ¶8                 Disputed. OCM has
 19
         customers in the same NY                               not produced any
 20      area (other food products, not                         evidence that the
 21      specifically related to the 9                          customers identified
 22      Branded Products)                                      in the Liu
 23                                                             Declaration actually
 24                                                             purchased any
 25                                                             products from OCM.
 26                                                             Nor does the Liu
 27                                                             declaration identify

 28
                                                                any promotional or
                                                                marketing activities
                                             28
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
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 1
                                                                conducted by OCM
 2
                                                                as to these
 3
                                                                “overlapping
 4                                                              customers,” and for
 5                                                              what products. (See
 6                                                              also Evidentiary
 7                                                              Objections to Liu
 8                                                              Decl.).
 9    14 OCM enforces its exclusivity Counsel Decl. ¶5; Exh. 8. Disputed &
 10       deal with other brands by                             Irrelevant.
 11       sending out warning letters.

 12
                                                                Whether OCM
                                                                enforces its other
 13
                                                                trademarks (even
 14
                                                                those not at issue
 15
                                                                herein) is irrelevant
 16
                                                                as to the issues in the
 17
                                                                Motion, namely
 18
                                                                whether Lin’s
 19                                                             Waha’s sales are
 20                                                             protected by the first
 21                                                             sale doctrine. See
 22                                                             also Evidentiary
 23                                                             Objections to Lee
 24                                                             Decl., at pg. 17 (for
 25                                                             Relevance, FRE 401-
 26                                                             402 & Hearsay, FRE

 27                                                             801, 802).

 28
      15 Recipients of OCM’s notices Counsel Decl. ¶6; Exh. 9   Disputed &
          of OCM’s exclusive grants                             Irrelevant.
                                             29
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
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 1
         respect    and    acknowledge
 2
         such       exclusivity       and,                          Whether OCM
 3       consequently,     will      avoid                          enforces its other
 4       diversion of sales.                                        trademarks (even
 5                                                                  those not at issue
 6                                                                  herein), and the
 7                                                                  recipients responses
 8                                                                  thereto, is irrelevant
 9                                                                  as to the issues in the
 10                                                                 Motion, namely

 11                                                                 whether Lin’s
                                                                    Waha’s sales are
 12
                                                                    protected by the first
 13
                                                                    sale doctrine. See
 14
                                                                    also Evidentiary
 15
                                                                    Objections to Lee
 16
                                                                    Decl., at pg. 17 (for
 17
                                                                    Relevance, FRE 401-
 18
                                                                    402 & Hearsay, FRE
 19                                                                 801, 802).
 20   16 OCM produced its sales of Counsel Decl. ¶7; Exh. Disputed. OCM’s
 21      the    Branded   Products by 10.                           Supplemental
 22      Excel files, as an acceptable (a CD Rom containing Disclosure identified
 23      form        of        e-discovery Excel files to be lodged; OCM’s “true and
 24      production in litigation.           Under seal)            correct purchases and
 25                                                                 sales invoices for the
 26                                                                 9 items at issue,” as

 27                                                                 documents produced
                                                                    as bates numbers
 28
                                                                    OCM-0003 through
                                               30
                RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
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 1
                                                                OCM-0006.
 2
                                                                (Witkow Decl., Exh.
 3
                                                                4 (Supplemental
 4                                                              Disclosure) at pg. 3).
 5                                                              These purchases and
 6                                                              sales invoices reflect
 7                                                              the following sales of
 8                                                              the Products at Issue
 9                                                              by OCM:
 10                                                             •      Total sales of

 11                                                             $54.00      for      XPP
                                                                Meco Milk Tea and
 12
                                                                XPP Lan Fong Yuen
 13
                                                                Milk        Tea       on
 14
                                                                9/19/2018              to
 15
                                                                Greatwall
 16
                                                                Supermarket-
 17
                                                                Monterey Park, CA;
 18
                                                                •      Total sales of
 19                                                             $88.00 for XPP Milk
 20                                                             Tea Strawberry, XPP
 21                                                             Milk Tea Taro, XPP
 22                                                             Milk     Tea      Barley,
 23                                                             XPP       Milk       Tea
 24                                                             Original on 5/2/2020
 25                                                             to     Eugene      Asian
 26                                                             Market,           Eugene,

 27
                                                                Oregon;
                                                                •      Total sales of
 28
                                                                $30.00 for Lan Fong
                                             31
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
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 1
                                                                Yuen Milk Tea on
 2
                                                                1/8/2020 to Caryee
 3                                                              Group, Lake Forest,
 4                                                              California;
 5                                                              •     Total sales of
 6                                                              $60.00 for XPP
 7                                                              Meco Peach & Pink
 8                                                              Grapefruit Tea, XPP
 9                                                              Meco Thai Lime Tea
 10                                                             on 2/17/19 to 528

 11                                                             Club, [unknown],
                                                                California. (Witkow
 12
                                                                Decl., Exh. 4 at p. 3
 13
                                                                (Supplemental
 14
                                                                Disclosure); Exh. 3
 15
                                                                (OCM Response to
 16
                                                                Interrogatory Set
 17
                                                                Two), at Response to
 18
                                                                Interrog. No. 6
 19                                                             (“Plaintiff produced
 20                                                             sales documents
 21                                                             showing it sold 9
 22                                                             products identified in
 23                                                             LW0015-LW0035
 24                                                             and LW0036 [Lin’s
 25                                                             Waha sales summary
 26                                                             identifying the

 27
                                                                customers who
                                                                purchased the
 28
                                                                Products at Issue
                                             32
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
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 1
                                                                (Exh. 5 to Lin Decl)];
 2
                                                                Exh. 7 (4 invoices
 3
                                                                produced as OCM-
 4                                                              0003-0006 that are
 5                                                              being referenced as
 6                                                              the “sales
 7                                                              documents”
 8                                                              produced by OCM).
 9                                                              Despite being
 10                                                             requested to produce

 11                                                             all invoices
                                                                supporting its sales
 12
                                                                of the Products at
 13
                                                                Issue, these four
 14
                                                                invoices are the only
 15
                                                                sales invoices OCM
 16
                                                                has produced in
 17
                                                                discovery, and OCM
 18
                                                                has never further
 19                                                             supplemented its
 20                                                             Rule 26(a)
 21                                                             Disclosures.
 22                                                             (Witkow Decl., Exh.
 23                                                             1 (Responses to RFP
 24                                                             (Set One), at
 25                                                             Response to RFP
 26                                                             Nos. 11-16 (“actual

 27
                                                                sales or purchase of
                                                                products from
 28
                                                                customers is
                                             33
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
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 1
                                                                 irrelevant to the
 2
                                                                 disputed issue
 3
                                                                 (whether OCM has
 4                                                               the exclusive license
 5                                                               to the trademarks).
 6                                                               Some of the sales
 7                                                               transactions are
 8                                                               provided in the
 9                                                               marketing-expense
 10                                                              folders”); Exh. 2

 11                                                              (Responses to RFP
                                                                 (Set Two), at
 12
                                                                 Response to RFP No.
 13
                                                                 4 (“please see an
 14
                                                                 Excel file, designated
 15
                                                                 as Confidential
 16
                                                                 AEO”)).
 17
      17 OCM’s market is the whole Liu Decl. ¶9; Exh. 11         Disputed. OCM
 18
         United States, served by its                            offers Exhibit 11–
 19      four (4) branch offices                                 which appears to be a
 20                                                              screen shot of office
 21                                                              locations for OCM
 22                                                              Globe USA, Inc.,
 23                                                              which is not the
 24                                                              plaintiff or a party to
 25                                                              this action, and does
 26                                                              not indicate where

 27                                                              OCM sells the
                                                                 Products at Issue.
 28
      18 OCM’s advertisement            Liu Decl. ¶10; Exh. 12   Disputed. Lin’s
                                             34
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
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 1
         activities show market                                 Waha objects to the
 2
         penetration across the United                          characterization of
 3
         States.                                                Exhibit 12 on the
 4                                                              grounds that the
 5                                                              document speaks for
 6                                                              itself, inasmuch as
 7                                                              the photographs do
 8                                                              not show that the
 9                                                              promotional
 10                                                             activities involve the

 11                                                             Products at Issue.
                                                                (See Evidentiary
 12
                                                                Objections, at pg. 7
 13
                                                                (for Relevance, FRE
 14
                                                                401-402, Lacks
 15
                                                                Foundation, FRE 602
 16
                                                                & Best Evidence
 17
                                                                Rule, FRE 1002).
 18
      19 OCM’s        responses      to Counsel Decl. ¶8; Exh. Disputed.
 19      interrogatories      show   its 13.                    Lin’s Waha objects
 20      marketing activities across                            to the
 21      the United States.                                     characterization of
 22                                                             OCM’s business,
 23                                                             promotion activities
 24                                                             and market coverage.
 25                                                             (See Evidentiary
 26                                                             Objections, at pg. 20

 27                                                             (for Lack of Personal
                                                                Knowledge, FRE 602
 28
                                                                & 901, and Hearsay,
                                             35
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
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 1
                                                                FRE 801, 802).
 2
                                                                Putting aside whether
 3
                                                                the claimed exhibit
 4                                                              says what counsel
 5                                                              claims it says, Mr.
 6                                                              Lee does not present
 7                                                              sufficient evidence of
 8                                                              personal knowledge
 9                                                              to authenticate the
 10                                                             referenced exhibits,

 11                                                             or to testify regarding
                                                                their authenticity.
 12
                                                                Mr. Lee is
 13
                                                                improperly injecting
 14
                                                                himself as a
 15
                                                                percipient witness to
 16
                                                                these facts, when he
 17
                                                                is only counsel. The
 18
                                                                fact that the
 19                                                             documents were
 20                                                             produced by OCM is
 21                                                             not alone sufficient
 22                                                             to establish that it is
 23                                                             what Mr. Lee
 24                                                             contends it is.
 25                                                             Mr. Lee did not
 26                                                             create the referenced

 27
                                                                exhibits, nor offer
                                                                any evidence to
 28
                                                                identify the author of
                                             36
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
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 1
                                                                 the document, or to
 2
                                                                 establish the
 3
                                                                 circumstances under
 4                                                               which it was created.
 5                                                               Therefore, it does not
 6                                                               satisfy the definition
 7                                                               of “nonhearsay.”
 8

 9
      Dated: February 18, 2021             Respectfully submitted,
 10

 11                                        witkow | baskin

 12

 13                                        By: /s/ Brandon J. Witkow
                                           Brandon J. Witkow
 14

 15                                        Attorneys for Defendant
                                           LIN’S WAHA INTERNATIONAL
 16                                        CORP.
 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

                                             37
              RESPONSE TO P’S STATEMENT OF ADDITIONAL UNCONTROVERTED FACTS
